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 4   Telephone: (916) 554-2797
 5
 6
 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S-07-515 WBS
12                Plaintiff,          )
                                      )   STIPULATION AND [PROPOSED] ORDER
13                                    )   CONTINUING STATUS CONFERENCE AND
          v.                          )   EXCLUDING TIME
14                                    )
     JORGE CHAVEZ et al.,             )
15                                    )
                  Defendants.         )   Hon. William B. Shubb
16                                    )
17
18        The parties request that the status conference currently set
19   for June 9, 2008, be continued to August 4, 2008, and stipulate
20   that the time beginning June 9, 2008, and extending through
21   August 4, 2008, should be excluded from the calculation of time
22   under the Speedy Trial Act.    The parties submit that the ends of
23   justice are served by the Court excluding such time, so that
24   counsel for each defendant may have reasonable time necessary for
25   effective preparation, taking into account the exercise of due
26   diligence.    18 U.S.C. § 3161(h)(8)(B)(iv); Local Code T4.       In
27   particular, counsel for each defendant needs more time to review
28   the discovery in this case, discuss that discovery with their

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 1   respective clients, consider evidence that may affect the
 2   disposition of this case, and discuss with their clients how to
 3   proceed.   The parties stipulate and agree that the interests of
 4   justice served by granting this continuance outweigh the best
 5   interests of the public and the defendants in a speedy trial.          18
 6   U.S.C. § 3161(h)(8)(A).
 7                                           Respectfully Submitted,
 8                                           McGREGOR W. SCOTT
                                             United States Attorney
 9
10   Dated: June 6, 2008                 By:/s/ Michael M. Beckwith
                                            MICHAEL M. BECKWITH
11                                          Assistant U.S. Attorney
12
     Dated: June 6, 2008                 By:/s/ Patrick K. Hanly
13                                          PATRICK K. HANLY
                                            Attorney for defendant
14                                          Jorge Chavez
15
     Dated: June 6, 2008                 By:/s/ Thomas A. Johnson
16                                          THOMAS A. JOHNSON
                                            Attorney for defendant
17                                          Armando Chavez
18
     Dated: June 6, 2008                 By:/s/ Michael B. Bigelow
19                                          MICHAEL B. BIGELOW
                                            Attorney for defendant
20                                          Alex Hernandez
21
     Dated: June 6, 2008                 By:/s/ Daniel M. Davis
22                                          DANIEL M. DAVIS
                                            Attorney for defendant
23                                          Juan Villa, Jr.
24
     Dated: June 6, 2008                 By:/s/ Hayes H. Gable
25                                          HAYES H. GABLE, III
                                            Attorney for defendant
26                                          Jamie Jiminez
27   ///
28   ///

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 1   Dated: June 6, 2008                By:/s/ Kresta N. Daily
                                           KRESTA N. DAILY
 2                                         Attorney for defendant
                                           Maricella Villa
 3
 4   Dated: June 6, 2008                By:/s/ Michael Long
                                           MICHAEL LONG
 5                                         Attorney for defendant
                                           Jose Penalosa
 6
 7                                    ORDER
 8        The status conference in case number CR. S-07-0515 WBS,
 9   currently set for June 9, 2008, is continued to August 4, 2008 at
10   8:30 a.m., and the time beginning June 9, 2008, and extending
11   through August 4, 2008, is excluded from the calculation of time
12   under the Speedy Trial Act.    The Court finds that interests of
13   justice served by granting this continuance outweigh the best
14   interests of the public and the defendants in a speedy trial.         18
15   U.S.C. § 3161(h)(8)(A).
16
17   IT IS SO ORDERED.
18
19   Dated: June 9, 2008
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